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9         IN THE UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT OF

10                                              CALIFORNIA

11
                                                        Case Number: 12-CR-198 WBS
12   THE UNITED STAES OF AMERICA
                                                        STIPULATION AND
13   V.                                                 ORDER REGARDING CONDITIONS
                                                        OF PRETRIAL RELEASE
14   Travis Olibas et. al.
                                                        DATE: N/A
15                                                      TIME: N/A
                                                        DEPT: Hon. Dale A. Drozd
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18           In the matter at bar Defendant seeks to alter the Court's previously issued Pretrial Release
19   Order issued by the Hon. Gregory G. Hollows on May 22, 2012 and subsequently altered by

20
     Stipulation and Order filed on December 26, 2012.
             I have spoken with Mr. Olibas's Pretrial Services Officer Mr. Ryan Garcia and AUSA
21
     Michael Anderson and requested that the order that Mr. Olibas be allowed to leave his residence
22
     only from 8 a.m. to 6 p.m. be deleted and that an order that "You are restricted to your residence
23   every day as directed by the pretrial services officer" be substituted in its place.
24           Both Mr. Garcia and AUSA Anderson have no objection to the change.

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            IT IS THERFORE STIPULATED:
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            Mr. Travis Olibas' Special Condition of Release be altered so that the phrase "You are
3    restricted to your residence at all times except that you may be absent from your residence from
4    the hours of 8 a.m. to 6 p.m.." be deleted and the phrase "You are restricted to your residence
     every day as directed by the pretrial services officer" be substituted in its place.
5

6
     Dated: January 16, 2013
7    BENJAMIN WAGNER
     United Sates Attorney
8

9
     _______/s/_________
     Michael Anderson
10   ASSISTANT UNITED STATES ATTORNEY

11   Dated: January 16, 2013

12   OLAF W. HEDBERG

13   ______/S/__________
     Olaf W. Hedberg
14
     ATTORNEY FOR TRAVIS OLIBAS
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                 Case 2:12-cr-00198-MCE Document 358 Filed 01/17/13 Page 3 of 3



1
               Mr. Travis Olibas' Special Condition of Release be altered so that the phrase "You are
2
     restricted to your residence at all times except that you may be absent from your residence from
3    the hours of 8 a.m. to 6 p.m.." be deleted and the phrase "You are restricted to your residence
4    every day as directed by the pretrial services officer" be substituted in its place.
               IT IS SO ORDERED.
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     Dated: January 16, 2013
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     Dad1.crim
11   Olibas0198.stipord.rel.cond.doc


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